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                        U N ITED STATES D ISTRICT COU RT FO R TH E
                              SOUTHERN DISTRICT OF FLORIDA
                                      M iam iD ivision

                              CaseNum ber: 08-21158-CR-SCOLA

 UN ITED STA TES,

        Plaintiff,
 VS.

 JOEL STEINGER etal.,

        Defendants.
                                                 /

                        O RD ER D ENY IN G M O T IO N FO R RE CU SA L

        Thisisthesecondtimeajudgeinthisdistrictreviewsgroundsforrecusalinthiscase.Ina
 thoughtfulorder,JudgeAdalberto J.Jordan denied Defendants'm otion to disqualify him .Now as

 JudgeJordan ison the Eleventh CircuitCourtofAppeals,thisfour-yearo1dcrim inalcasehasbeen

 assignedto JudgeRobertN .Scola. Stillpending iswhetherrecusaloftheentire Southem District

 ofFloridabench isrequired dueto bench'sprofessionaland personaltiesto fonnerUnited States

 AttorneyR.AlexanderAcosta,fonnerGovernorCharlieCrist,form erUnitedStatesSenatorGeorge

 LeM ieux,and formerGeneralCounselto theFloridaGovernorPaulC.Huck,Jr.. Aftercarefully

 consideringthestatutorystandards,theCourtconcludesthatthemotionforjudicialdisqualification
 andrecusalshould be denied.

        THIS CAU SE cam ebeforetheCourtupon Defendants'M otion to RecuseAllDistrictCourt

 JudgesfortheSouthem DistrictofFlorida(D.E.No.59),filedonJanuary16.2009.
        THE COURT hasconsideredthem otionand thepertinentportionsoftherecord,and being

 otherwise fully advised in the prem ises,itis

        A DJU DG ED thatthe m otion is DEN IED forthe reasons stated in this order.
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                                        1. Background

        The govermnentchargesthe Defendantsin thiscase in a viaticalfraud scheme atM utual

 Benetitsthateventuallycausedvictim sover$287millionindam ages.Thecrim inalcaseiscurrently

 beforeJudge Scola. The purported groundsforrecusalstem from a fabricated incidentinvolving

 AlanM endelsohn,aRepublicanpoliticalfundraiser.M r.M endelsohnhaspledguiltyandadm itted

 thathis statem entsw ere false.

        Alan M endelsohn approached Joel Steinger in M ay 2007 stating that in exchange for

 significantcampaign ctm tributions made to specific politicalaction comm ittees,form erFlorida

 GovernorCharlie Cristand m embersofhisstaffwould pressurethen United StatesAttorney R.

 AlexanderAcostatoclosetheinvestigation againstDefendantJoelSteingerandtheM utualBenefits

 Cop oration. M endelsohn also guaranteed thatM r.Cristwould recruitform erU.S.SenatorM el

  M artinezandfonnerUnited StatesAttom eyRoberto M artinezto help persuadeM r.Acostatodrop

  thecriminalinvestigation.

         To addcredenceto hisfraudulentassertions,M endelsohn assured DefendantsSteingerand

  Steinerthathehad succeeded in havingcasesdropped in thepast.Heasserted thatin2003,hehad

  bribed at-the-time Florida Attorney GeneralCristand histhen chief-of-staffGeorge LeM ieux to

  persuadethe StateofFlorida to closeacriminalinvestigation.Heboasted thathe bribed M r.Crist

  and M r.LeM ieux,inthepresenceofPaulC.Huck,Jr.,son ofSouthern DistrictofFloridaDistrict

  JudgePaulC.Huck,who hasrecused in thiscase.

         TheD epartm entofJusticeinvestigated M r.M endelsohn'sstory afterreceiving areportfrom

  Defendants Steingerand Steiner. The Public lntegrity Section investigated and cleared a1lthe

  governmentofticialsofanyparticipation and found M r.M endelsolm had manufactured thewhole
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 story.Eventually,M r.M endelsohn pledguiltyandadm itted hisstatem entswerefalseonDecem ber

 9,2010.See Unitedstatesv.Alan D.M endelsohn,CaseNo. 09-CR-60257-ZLOCH (D.
                                                                         E.No.66,
 TranscriptofPleaColloquy).
                                        II.LegalStandard

        Twofederalstatutes,28U.S.C.jj455and 144,govern recusalandcourtsmustconstrue
 them inparimateria.Rayv.EqufaxInformationServs.,LLC,327Fed.App'x.819,824(11thCir.
 2009).Underthesestatutes,judgesarepresumedtobeimpartialandthemovantbearstheburden
 ofdemonstratinganobjectivelyreasonablebasisforquestioningthejudge'simpartiality.Tripp v.
 Exec.Of/zceofthePresident,104 F.Supp.2d 30,34 (D.D.C.2000). In thiscase,Defendants'
 motiontortcuseispursuanttosections455(a)and455(b)(5).
                                        111.LegalAnalysis

        A.MotiontoRecuseunder28 U.S.C.j 455
        Section455(a)requiresadistrictjudgetorecust''inanyproceedinginwhichhisimpartiality
 mightreasonablybequestioned.''28U.S.C.j455(a);Thomasv.FennecoPackagingCo.,293F.3d
 1306,1329(11thCir.2002).Section455(b)(5)(iii)requiresjudgestodisqualifythemselveswhere
 thejudgehasapersonwithin thethird degreeofrelationshipwho''isknownbythejudgetohave
 an interestthatcould besubstantially affected bytheoutcomeoftheproceeding.'
                                                                           'See28U.S.C.j
 455(b)(5)(iii).DefendantshavemovedtorecusetheentirebenchoftheSouthernDistrictofFlorida
 based onthese statutory provisions.

        A pplying these principles to the fad s of this case is notdifficult. A s Judge Jordan aptly

 explained in hisorderdenyingthem otion to recusehim ,thisisnotacasewhereM r. Steingerand

 M r.Steinerm ade accusationsaboutM r.Acosta,M r.Huck,Jr.orany othergovem mentoficial.


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 Rather,theDefendantsaccuratelyreportedtheirconversationswith M r.M endelsohn to thePublic

 lntegritySection.ThatsectionuncoveredthatM r.M endelsohn,and nottheDefendantsinthiscase,

 created thefalseaccusations.ThePublicIntegritySection also clearedthegovem m entoftk ialsof

 anywrongdoing.ThatM r.M endelsohnm anufacturedthewholestoryonlyshowsthereisnoreason

 forjudgesintheSouthernDistricttobepartialagainstMr.SteingerorMr.Steiner.Evenassuming
 thateveryjudgeinthisDistricthadcloseprofessionaltiestoM r.Acosta,M r.Huck,Jr.,M r.Crist,
 M r.LeM ieux,andM r.M artinezythosetiesaloneareinsufficient,especiallyonthesefacts,towarrant

 recusalunderthe statute.Accordingly,the motion forrecusalofthe Southem DistrictofFlorida

 bench isdenied.



       DONE AND ORDEM D in ChambersatM iam i,Florida,this             day ofJanumy,2013.




                                          FED ERI  .     NO
                                          UNITE STATES DISTRICT JUDGE
 Copies provided to:
 HonorableRobert.N .Scola
 CounselofRecord




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